Exhibit A
HomeLight Reviews (Consumer Warning) | HomeOpenly                                             https://homeopenly.com/Reviews/HomeLight




                              Homelight Reviews {Consumer Warning)




                                               ~ Editor's Rating

                                                ~ Users' Rating

                    Reviews for Homelight, a referral network that matches
                              consumers with real estate agents.

                                                            Post a Review


                                                    Back to Directory (RealEstateDi ectory)


                                                              Compare




                                                    *****
                                       Start your review of Homelight




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                                                    Consumer Warning


              Homelight is a broker-to-broker collusion scheme, where "partner agents"
              unlawfully agree to pay massive kickbacks to receive your information by
                engaging in market allocation, consumer allocation, false advertising,
               hidden kickbacks, wire fraud, and price-fixing practices. As a consumer,
               you will always significantly overpay for Realtor commissions subject to
                hidden kickbacks and pay-to-play steering promoted in this scheme.


                  United States federal antitrust laws prohibit consumer allocation and
                      blanket referral agreements between real estate comRanies.
                          (https://www.justice.gov/atr/file/810261/ download)

              Be smart; do not allow your information to be "sold as a lead" to a double-
              dealing Realtor in exchange for massive commission kickbacks paid from
                        your future home sale, or your future home purchase.




                                       Buying and Selling with Homelight
           Homelight is a referral fee network designed to collect fees by
           matching consumers with local real estate agents willing to
           participate. Homelight operates as a licensed real estate
           brokerage in California under BRE License #01900940, but it does
           not produce any services that are typically offered by real
           estate agents and does not represent consumers when buying
           or selling real estate in any State.

           When consumers submit information to Homelight, this
           information is simply sold to real estate agents who are willing to
           pay for it with a 25% share of their commission.
                                                                                                     A




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                                 Company Website (https://www.homelight.com)



                                                    Homelight Pricing
           Homelight revenue comes from referral fees and sale of user
           data.



                                                     Listing Services
                  • This Service Does Not Represent Sellers




                                                Buyer's Agent Services
                  • This Service Does Not Represent Buyers




                                            Homelight Editor's Review:
             Dmitry Shkipin (https://www.linkedin.com/in/dmitryshkipin?trk=profile-badge)
                                               Last updated: 25 April 2021                             A




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                                           First published: 17 February 2019
                                                      ~



           On paper, Homelight seems to have a great idea - to provide its
           users with a list of the "most effective" real estate agents that are
           scrutinized across the board to systematically facilitate better
           offers for sellers and better terms for buyers.

           Homelight states that "our service is 100% free, with no catch.
           Agents don't pay us to be listed, so you get the best match."
           Digging deeper into Terms of Service the actual model turns out to
           be much less effective - Homelight is a California licensed real
           estate broker that collects a 25% referral fee from all real estate
           agents that participate.

           This fee makes it hardly a free service for anyone since referral
           fees are inevitably passed down to consumers.

           More importantly, Homelight applies this pay-to-play bias towards
           all matching results, meaning, only real estate agents that have
           agreed to pay a referral fee are displayed in match results for
           consumers.

           Homelight audits all transactions because it needs to find out
           how much money real estate agents receive in commissions,
           inevitably collecting private details of consumer's agreement for
           home purchase or sale.

           Homelight further claims to produce higher returns to consumers
           when selling, but there is absolutely no third-party evidence for this.
           Homelight algorithm is self-proclaimed and is based on the data
           derived from MLS past transactions. There are any number of
           factors that affect the actual home value with no proven
           correlation to agent representation. In order to select a proper real"


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           estate agent, consumers need an open and a transparent
           information process that Homelight is unable to provide.

           Homelight plays fees down to consumers - it states directly that
           the service is 100% free, but at the same time, it rigidly locks every
           participating real estate agent into 25% referral fee attached to
           the back-end of every contract. As a licensed real estate agent that
           doesn't perform any real estate services or takes any responsibility
           for the transaction, it is not entirely clear how this process works
           under the Business and Professions Code and RESPA.

           Clearly, real estate agents only sign-up with Homelight because
           the price of the referral fee can be easily incorporated into their
           client's agreement with excessive commissions.

           Homelight receives the second lowest score because this service
           is clearly biased and it claims to provide the complete opposite of
           what it actually does. Homelight has presented the following facts
           prior to the review getting published, but did not respond with any
           comments. Homelight must be well aware of this issue but
           continues to operate on pay-to-play methodology in order to
           collect fees that needlessly make home buying and selling more
           expensive.


           Homelight Simple Sale ™ Product
           Homelight further offers consumers a connection to local real
           estate developers that buy and flip homes for profit. According to
           the company, the majority of Simple Sale developers are only
           interested in purchasing off-market homes. Homelight itself
           admits that 91 percent of sellers choose a real estate agent to list
           their home on the open market, but that does not stop it from an
           attempt to offer your information to developers as well.

                                                                                         A
           Homelight states it will show the seller their best iBuyer offer

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           against an estimation for what they can sell a home in an open
           market with the help of an agent. The reality is Homelight doesn't
           care how your home is sold, as long as it receives a fee for
           directing you one way or another. It costs absolutely nothing to
           Homelight to offer you a bad deal on selling your home to a real
           estate developer because this company is a referral fee network
           that is primarily interested in connecting consumers to anything
           that pays them a fee.

           Homelight does not state how much developers and iBuyers pay
           them for each successful lead, but according to third-party
           sources, Homelight receives a 4% commission from the total value
           of your home. Remember, this fee comes from the real estate
           developer, so Homelight for all practical reasons, works for that
           developer, not you. A developer will know that your home is off-
           market and it costs them absolutely nothing to give you a
           severely underpriced offer.

           Typically, iBuyers cost consumers about 15%-20% of net equity
           from the home sale, when accounting for all fees and reduced cash
           offer against your home's true value. Most developers will not take
           anything less of a 30% margin below market. The reason is
           developers experience high risks and double transaction costs
           when making an offer on your home, and Homelight's 4%
           commission on the sale is a very real closing fee to account for.
           The bank, on the other hand, does not care how you sell your
           home or for how much. Your mortgage company receives the
           same amount from the sale of your home, so these all excessive
           costs work directly against your net equity as a seller. If you are
           seriously considering Simple Sale offer made to you using
           Homelight, the best way to approach it is with your own real
           estate agent who does not pay any referral fees to Homelight.

           Of course, matching you with a competitive agent to list your home
           on the open market is something Homelight is not built for.       "

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           Remember, Homelight is a broker that is interested in receiving
           a referral fee for any match. If Homelight does not receive
           payment of some sort from a broker, you will never see them on
           their platform. When you use a broker sent to you by Homelight,
           you are paying for two brokers.


           Consumer Steering
           Some consumers who receive a recommendation for the three
           local Homelight partner agents will often proclaim that the
           process of selecting a Realtor is very simple and that they have
           experienced excellent results.

           The question stands, why doesn't the editor's review for
           Homelight extend a similar recommendation? The difference is
           that the editor's review focuses directly on the quality of Homelight
           brokerage as an information channel, while most consumers tend
           to combine Homelight brokerage with an experience provided by
           Homelight partner brokers into a single experience. From an
           editor's perspective, these are not the same.

           The way consumers find a real estate professional must be
           unbiased and free from pay-to-play incentives in order to be
           considered as a quality channel.

           Homelight brokerage offers an excellent channel that proactively
           steers consumers toward a highly selected pool of partner brokers
           who have a blanket referral agreement with them, in an exchange
           for a significant share of their commission.

           This is a ver~ different experience than having to genuine!~ rate
           local agents and offer an unbiased recommendation. Homelight
           has a direct financial incentive to steer consumers toward
           brokers who charge higher commissions.
                                                                                        A




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           Moreover, Homelight brokerage operates by excluding itself from
           the competition with partner agents. In the United States, it is
           unlawful for real estate professionals to allocate consumers or
           organize into broker referral networks by means of blanket referral
           agreements.

           Homelight is a brokerage and it must compete with other
           brokers, instead, the company organizes brokers into a network
           in order to receive a cut of their commission. Real estate
           professionals working with Homelight no longer compete for
           consumers, but rather compete for Homelight to steer their
           business.

           Homelight consistently applies a logical fallacy called "Appeal to
           Authority" where it states that their partner agents are the best
           simply because the company has done some sort of "black box"
           research without actionable reasoning to support the claim.
           Homelight algorithm is biased by default, simply because it will
           only match consumers with partner agents, and not all local
           agents.

           Homelight cannot actually rate all local agents and publically
           disclose this data, simply because agents who are rated badly will
           argue that the system of rating is flawed - not all transactions are
           recorded in the MLS, it is impossible to truly determine the quality
           of agents based on data provided in the MLS, some agents will
           underprice homes to sell them quicker, etc. Consumers are legally
           allowed to rate their experience with services in the United
           States. Unbiased channels such as Yelp! freely offer unbiased
           medium with good information where brokers cannot buy their
           recommendations with referral fees, or offer consumers gift
           cards to write reviews.

           Homelight only offers three best choices, simply because these
                                                                                        A
           agents will not argue with that determination, in fact, they are

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           willing to provide a kickback of their commission for the privilege.

           All of these reasons combined are why the editor's review rating is
           so much different from positive consumer reviews. The editor's
           rating focuses on the fairness of the process, rather than the
           individual outcome. In order to promote fair practices in the
           industry, we place a very different value on pay-to-play steering
           vs. unbiased match results.


           Is Homelight Free?
           Homelight often proclaims that its "service is 100% free." We find
           this statement to be false. Homelight is not free, in fact, this
           "paper" brokerage adds unnecessary referral fees into transactions
           that make it more expensive to buy or sell any home.

           Eventually, Homelight is a brokerage and their fees are paid by
           consumers with higher commissions. Homelight further claims that
           "agents don't pay us to be listed, so you get the best match." This is
           a use of a "Modal Logical Fallacy" because it specifically concludes
           that because something is true, it is necessarily true, and there is no
           other situation that would cause the statement to be false. Simply
           because agents don't pay Homelight to be listed, doesn't mean
           that agents don't pay Homelight at all. In fact, Homelight actively
           steers consumers toward agents who pay them, just after the
           transaction.

           As of 2019, Homelight claims to have made a successful match for
           about 390,000 people with agents. The median home price of a
           home in the United States is about $230,000. Multiplying the two
           figures yields about $100 Billion in home sales. Assuming a 5-6%
           commission, this yields about $5 to $6 Billion in real estate
           commission business generated nationwide. In the recent
           Crunchbase article Homelight claims to have "driven well over $17
                                                                             A
           billion of real estate business nationwide," which indicates that

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           Homelight works with homes above the median price. Simply
           stated, Homelight has collected a "standard" 25% referral fee on
           commissions valued anywhere from $5 to $17 Billion since its
           inception in 2012.

           This yields a mind-blowing estimate set at $1.25 to $4.25 Billion in
           commission kickbacks paid to Homelight from participating
           brokers across the United States. Almost all of it is profit since
           Homelight doesn't perform any services typically offered by real
           estate brokers.

           Homelight advertises a 100% free service, yet it subjects
           consumers to Billions in added fees in one of the most important
           transactions of their lives.

           Update: on November 4, 2021, Homelight has originated a
           request to the editor asking for this review to be removed.

           The following is a pdf link ( ../docs/Homelight-Review-Notice-to-
           Cease-and-Desist.pdf) to the notice originated by Homelight,
           dated November 4, 2021.

           The following is a pdf link ( ../docs/RE-Homelight-Review-Notice-
           to-Cease-and-Desist.pdf) to the reply written by the editor of this
           review, dated November 9, 2021.


           Guide References for Homelight:
           Blanket Referral Agreements in Real Estate (https://homeopenly.com/guide
           /Blanket-Referral-Agreements-in-Real-Estate)


           How real estate referral fees work (https://homeopenly.com/guide/how-real-
           estate-referra I-fees-work)
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           Market Allocation in Residential Real Estate (https://homeopenly.com/guide
           /Market-Allocation-in-Residential-Real-Estate)


           Is Homelight Match Legitimate? (https://homeopenly.com/guide/ls-
           Homelight-Match-Legitimate)


           Homelight Possible Antitrust Violations (https://homeopenly.com/guide
           /Homelight-Possible-Antitrust-Violations)



           FAQ for Homelight
           G     What are the_alternatives_to _Homelight?
           G     What _are the_pros_and _cons_of _Homelight?
           G     What _is _Homelight?
           G     Is_Homelight_legitimate?
           G     How _does_Homelight_make_money?
           G     Is_Homelight_algorithm_impartial?
           G     What is Homelight Simple Sale?

           What are the alternatives to Homelight?
           Homelight directly competes with several broker-to-broker referral fee schemes,
           including Zillow Flex (https://homeopenly.com/Reviews
           /Zillow_Premier _Broker _Program), Realtor.com Opcity
           (https://homeopenly.com/Reviews/Realtor _ Opcity), Redfin Partner Program
           (https://homeopenly.com/Reviews/Redfin), Opendoor Brokerage
           (https://homeopenly.com/Reviews/Opendoor _Brokerage), Rocket Homes
           (https://homeopenly.com/Reviews/Rocket_Homes), Better Real Estate
           (https://homeopen ly.com/g uide/Bettercom-Possi ble-Antitrust-Violations ),
           mel lohome (https://homeopen Iy.com/Reviews/ mel lohome), Sold.com
           (https://homeopenly.com/Reviews/Sold), Xome (https://homeopen ly.com
           /Reviews/Xome), OJO Labs (https://homeopenly.com/guide/OJO-Labs-
           Possible-Antitrust-Violations). LemonBrew (https://homeopenly.com/Reviews
           /LemonBrew), Radius Agent, ReferralExchange, Nobul (https://homeopenly.com"


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           /Reviews/Nobul), NAEBA (https://homeopenly.com/Reviews/NAEBA),
           topagentsranked, myagentfinder, UpNest (https://homeopenly.com/Reviews
           /UpNest), Clever Real Estate (https://homeopenly.com/Reviews
           /Clever _Real_Estate), and others.


           Genuine alternatives to Homelight are unbiased real estate platforms, open
           marketplaces, and consumer review portals that offer reliable information
           without any pay-to-play bias (https://homeopenly.com/guide/Hidden-Referral-
           Fees-in-Real-Estate).



           What are the pros and cons of Homelight?
           Pros: there are none with Homelight. Homelight's proposition to match
           consumers with the best real estate agents is a false advertisement. Homelight's
           broker-to-broker col Iusion scheme (https://homeopen ly.com/guide/Homelight-
           Possible-Antitrust-Violations) holds no tangible value to any consumer, either
           when buying or selling a home.


           Cons: there are several major disadvantages to Homelight. First, consumers are
           hiring two brokers for the work of one (https://homeopenly.com/guide/how-
           real-estate-referral-fees-work). Because Homelight takes a 25% referral fee, the
           referred agent is unable to offer their full value to consumers. Homelight only
           recommends three paying agents to consumers, leaving out the vast majority of
           honest agents who refuse to participate in the scheme.


           Summary: Homelight steers consumers toward their network of brokers and
           away from others. Homelight cannot legally organize brokers into a network
           (https://homeopenly.com/guide/Blanket-Referral-Agreements-in-Real-Estate)
           because blanket referral agreements, consumer allocation, and market
           allocation (https://homeopenly.com/guide/Market-Allocation-in-Residential-
           Real-Estate) between licensed real estate brokers are prohibited in the United
           States.



           What is Homelight?                                                                     A




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           Homelight is a 'paper' real estate brokerage. Agents agree to pay Homelight a
           referral fee, on all closed transactions, through their employing broker.
           Homelight does not offer any representation services. Homelight is a consumer
           brokering scheme that works to receive a cut of agent's commissions with the
           use of blanket referral agreements.



           Is Homelight legitimate?
           No. Homelight is a consumer allocation scheme between licensed real estate
           brokers that increases broker commissions and limits consumer choices.
           Homelight's revenue comes from blanket referral fees set at 25% of the entire
           broker's commission. Homelight is scamming consumers when it claims to offer
           unbiased matches. Homelight a pay-to-play scheme that offers biased matches
           for financial gain. The main qualification for real estate brokers who participate
           with Homelight brokerage is their willingness to pay a referral fee. Consumer
           allocation between licenses real estate brokers is a felony in the United States
           prohibited by federal antitrust regulations.



           How does Homelight make money?
           Homelight is a pay-to-play scheme that offers biased matches for financial
           gain. Homelight is a registered licensed broker with the California Department of
           Real Estate. As a licensed broker Homelight does not offer any tangible
           services, instead, the company utilizes blanket referral agreements with
           independent Partner Agents in a possible violation of the Sherman Act and
           RESPA. All Partner Agents must agree to pay Homelight a blanket referral fee to
           participate in the scheme.



           Is Homelight algorithm impartial?




                                                                                                   A




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           No. Homelight algorithm is self-proclaimed and easily amounts to unfounded
           results. Homelight has a direct financial incentive to recommend the most
           expensive brokers to consumers because their referral fees are calculated from
           the total price of the commission a referred broker earns from the real estate
           transaction.


           Homelight does not have any legal authority to rate the quality of other real
           estate brokers because it is a broker like any other. Homelight is a 100% biased
           platform.



           What is Homelight Simple Sale?
           Homelight Simple Sale (https://homeopenly.com/guide/ls-Homelight-Match-
           Legitimate) is a consumer brokering scheme (https://homeopenly.com/guide
           /Homelight-Possible-Antitrust-Violations) where Homelight feeds home seller's
           information to cash home buyers in exchange for a hidden 4% kickback paid by
           the cash home buyer.


           Simple Sale is not a legal home seller representation. Homelight does not act in
           a listing brokerage capacity and does not have a representation agreement
           signed with the home seller. This means that whenever a home seller sells their
           home to via Simple Sale, Homelight receives a kickback from the cash home
           buyer, under the premise that consumers 'save' on the cost of the listing
           commission.


           In reality, with Simple Sale, home sellers are fed into a consumer brokering
           scheme, lose control of their consumer choice, are presented with below-market
           offers, lack exposure of their home on the open market, and receive zero market
           offers made by legitimate buyers.


           It is unlikely that any legitimate seller's agent can recommend selling any home
           off-market with a third party taking hidden kickbacks from the proceeds. A
           legitimate real estate agent always works for the home seller and always acts in
           the seller's best interest under ethics and local state Business and Professions
                                                                                                   A
           codes. Homelight merely acts in their self-interest (https://homeopenly.com


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           /guide/ls-Homelight-Match-Legitimate) and in the best interest of whoever
           pays it the largest kickbacks.




                                        Where does Homelight operate?
              Homelight currently operates in select areas across United
              States.



                                                    Contact Homelight:
              100 1st St Suite 2600
              San Francisco, CA 94105 US

               Phone: (855) 999-7971 (tel:+18559997971)




                            : Homelight

                                              Homelight User Reviews
             HomeOpenly aims to display user reviews posted as independent
                                                                                                   A




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            opinions of ordinary impartial customers. Review solicitation is the
             act of asking customers to leave reviews. Businesses should not
              ask for or solicit reviews on HomeOpenly. This includes asking
                                  customers to write reviews.

             It has been confirmed by our staff that sometime in December
             2019, Homelight has solicited customers to post their feedback
                     on HomeOpenly in exchange for cash gift cards.

            Solicited reviews are posted by legitimate customers, and we are
                 accountable to display them, however, the act of review
                solicitation may lead to deceptively biased content because
                           businesses can cherry-pick their requests.

             The FTC maintains that knowing about cash incentives is material
                     information to consumers reading_Qositive reviews.
               (https://www.ftc.gov/news-events/blogs/business-blog/2019
                    /04/its-unwise-incentivize-positive-skewed-reviews)

                                          Please proceed with caution.


            1~ 0311a12022
              Valerie M. Dallas, TX



              Homelight contacted me about an offer on my non listed
              house. I replied back but never heard anything. I think this is a
              scam marketing company disguised as a real estate referral
              company. Do not give then your info! You will get spammed
              but not with a home offer from Homelight.


            I~               0311s12022
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               Julie Palm Coast, FL
                                                                                                   A




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                 Not sure how this happened but received 2 offers for over 100k
                 LESS than we sold it for.
                                                                                            j

             r   ~ 03/09/2022
                 Jonathan Holland


               I gave them my information because I was curious about an
               estimate on my home price. The estimate was no good, and
               they constantly hound me with real estate agents, and there
               seems to be no way to close my account and remove my
             l information from their database.

             I~              0212012022
                 Roy s. Highland, CA



                 Waste of time bill reached out twice offering to purchase my
                 house asks for info and than never makes a offer or response
                 to any emails if you want to sell just use your trusted realtor
                 much easier and straight forward


            1~ 0211912022
                 Andrea Huntington, NY


             1 1 was   referred several agents, not one was local enough, none
                 familiar with my town. Not one local agent, not one agent who
                 knew anything about my area.

                 This is Fraud. False advertising. The Agents pay for the referral,
                 that's all.


            I~               02/05/2022
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               Leigh G. Garden City, ID


              I requested an estimate of home value. The value result is
              significantly lower (less than we paid in 2019) than I know
              (based on CMAs, recently sold, listing prices) we could ask
              when we decide to sell. Disappointing, but, of course, they knew
              of an investor who would like to buy it!
                                                                                         j

            1~ 0112112022
               Margaret B. Anchorage, AK


              Saw an add on tv offering a free home valuation. Spent 10
              minutes trying to get the valuation but never got it. The website
              would not allow it because I wasn't giving up a phone number.
              When you have to force customers to provide basic info, you
              haven't earned their trust? Earn it, then ask.


             r ~ 0412112021
              Sean N. Stafford, VA


               I have been receiving calls from an unknown number for days,
               and they refuse to leave a voicemail. I don't answer numbers I
               don't recognize. After several days of the same number calling,
               and not leaving a message, I answer, to find it's Homelight. No
               one on the other end, and as I'm about to hang up, an
               automated voice tells me this call is being recorded, and man
               comes on, saying he's from Homelight. I hang up. Immediately
               after that I receive a flurry of phone calls, emails and texts
               from real estate agents - completely unsolicited! I realized that
             I I had recently used an online home valuation calculator out of
               curiosity. Apparently the information I entered was distributed
               to agents under the pretense that I was selling my home. I
                                                                                             A




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              never once suggested that my home was going on the market
              when using the online tool. Be warned, they will spam you if
              they get your information.


             r~ 03/23/2021
               Judd C. Denver, CO


              This is not a transparent offering. The clients are not paired
              with the best Brokers for them, they are paired with the brokers
              that are paying into this referral network. Often these brokers
              are the less effective or experienced brokers that don't have
              enough of their own deal flow, and therefore have to pay
              someone else for leads. I don't like that this info is hidden and
              the service tries to present itself as a legitimate 'matching'
              process for clients, when it's just a paid referral program for
              the owners of Homelight.


            1~ 0110912021
               Nathan M. Akron, OH


              It's been 3 years since my house sold, but I just had vent about
              Homelight.
              A wife and husband showed hours after soliciting Homelight. It
              would be too lengthy for me to detail everything. They advised
              me to keep my used furniture in place, which I know is not a
              good idea. They brought out clients as I warned I wasn't ready,
              took clients out anyway, and then chewed me out because it
              wasn't ready. The wife thought that hugging the seller a lot was
              a good idea. I don't like strangers hanging me. There's a lot
              more, but suffice to say, Homelight doesn't get the biggest
              sellers. The subsequent realtor that did a great job selling in
              under a month, did a great job and said he'd never heard of
              the apparent amateurs that Homelight Dispatched.                 "'


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                  DONT USE HOMELIGHT

             \.
                  THEY'RE BS. Thank you                                                      j
             r    ~ 1112412020
                  Bob S. Denver, CO



                  Homelite sends out millions of texts every day which is illegal.
                  No means no. We are on a no call list but they keep texting.


            1~ 1111012020
                  Kay P. Portland, OR



                  This is a worthless scam company that will not stop spamming
                  me even though I have never solicited or used their services. I            j
                  have no idea how they got my information, but I have no need
                  of them and cannot get off of their list.


             r    ~ 1013112020
                  Tamera B. Columbia, SC



                  SPAM Company. BEWARE! This company tells you they will
                  provide you with the BEST agent for YOUR NEIGHBORHOOD,
                  which is a lie. They will provide you with an agent willing to pay
                  25% of their commission back to them. The consumer IS NOT
                  Getting the MOST EXPERIENCED OR THE TOP PRODUCERS for
                  their community. ASK the agent to SHOW THEIR PRODUCTION
                  STATS. Then ASK people in your community for a personal                    j
                  referral of an agent or use a review service.


            1~ 1012212020
                  Pop p. Lewes, DE



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                 Only made an inquiry for these folks, based on information I
                 provided on my home, to provide a value or appraisal. Was not
                 seeking a realtor only a comparison on their estimate
                 compared to Zillow's estimate compared to a professional
                 appraisal. They were nearly $300,000 dollars less than the
                 professional appraisal and $200,000 dollars less than Zillow. I
                 made no request for anything else and provided an old
                 telephone number but asked for no calls. Two weeks latter they
                 tried to call and when able to connect emailed trying to get me
                 to connect with one of their realtors. Unethical, misleading and         j
                 an intrusion on my privacy and disregarding my wishes. These
                 types of business practices should be outlawed.


             r   *****       0310112020
                 ALBERTS. Union Mills, IN


                 I searched for a realtor on Homelight. Several were
                 recommended to me. I chose Dave Woodson because of his
                 history in LaPorte County. He put our house on the market and
                 had an offer in less than 24 hours. He offered us good advice.
                 He responded quickly to our questions. I would have liked to
                 hear from him a little more often in the interim. There were 6
                 weeks between the offer and closing. I know that there was a
                 lot of time when nothing was happening, but a short contact to
                 let us know everything was still moving forward. He did contact
                 us as things happened, but sometimes there were weeks that
                 we didn't hear from him and that left us wondering. Just
                 something minor. He did a great job for us and when we go to
                 sell our other house we will call Dave.


             r ~ 0212112020
                 Carol V. Myrtle Beach, SC
                                                                                          1
                                                                                           A




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                 We found Jeff Casterline with BRG Realty on Homelight. He did
                 absolutely NOTHING for us. He did not represent us as sellers
                 at all. The nonsense we went through as sellers should have
                 been avoided by Jeff, but he did absolutely nothing for his 6%
                 commission. We have bought and sold 9 homes to date and
                 this experience, without a doubt, was the most stressful we
                 have ever had due to Jeffs nonchalant attitude about what the
                 buyers and the buyer's agent were putting us through. I would
                 NEVER recommend BRG, and especially Jeff Casterline to sell
                 your house. He was nothing like what he represented himself
                 as when we originally spoke to him about selling our house.


             r ~ 0111a12020
                 Dan J. Roseville, Ml


                 Homelight offers to pay people who have used their service for
                 positive reviews. I recently used them and they offered me a
                 $20 Amazon gift card to give a positive review along with an
                 extra $10 if I would post the review on another site (by the way
                 they don't ever actually end up paying you it is just more lies). I
                 personally would not use Homelight again they only
                 recommended 2 agents and neither were very good. I don't
                 believe they really select top agents instead just using agents
                 agreeing to their kickbacks. I have also received a lot more
                 spam emails and calls since sharing the info with Homelight.


             r   *****       01/04/2020
                 Jennifer K. Kalamazoo, Ml



                 I do appreciate the home light service to connect homeowners
                 with real estate agents. I was looking for a good realtor when I
                 did a google search and landed on the home light site. I put in
                 my information and was matched up with three realtors. I                     "'


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                 heard from two of them within hours. Great response and
                 excellent referral for both realtors. We had both of them come
                 and provide their thoughts on our home and what it would sell
                 for. We liked both realtors so much we had a hard time
                 deciding which one to use. I am very happy with the home light
                 service and would use it again if I needed to find a realtor that
                 would be a good match for us.
             I
                 Caution: The author of this review has confirmed that his/her posting was
                 solicited by Homelight in exchange for a cash gift card.



            1••••• 0110212020
                 Jeremy S. Cohoes, NY


                 The process of selling a home is overwhelming enough without
                 factoring in the chore of selecting the right real estate agent.
                 Homelight was a life saver in this process. In addition to
                 offering helpful advice regarding the sales process, I answered
                 a few brief questions and received a list of the top selling
                 agents in my area. Within hours of using Homelight I had three
                 appointments with realtors to interview. The process could not
                 have been easier. Thank you Homelight!
             I
                 Caution: The author of this review has confirmed that his/her posting was
                 solicited by Homelight in exchange for a cash gift card.



             r ••••• 1212112019
                 Gabrielle Bristol, CT


                 Homelife made selecting a realtor very simple for us. As first
                 time home buyers, we didn't know where to even start to look
                 for a realtor! We were provided with several agent options


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               once we signed up with Homelife. Our realtor Doreen provided
               us an amazing experience and we are so grateful that
             I Homelife led us to her!

              Caution: The author of this review has confirmed that his/her posting was
               solicited by Homelight in exchange for a cash gift card.



             r • • • • • 1212612019
               Pamela R. Phoenix, AZ


              I was very happy with Homelight services. I had the home on
              the market and used a relative for my agent for 3 months with
              only one very low offer: I needed to change agents. They
              referred me to 3 excellent real estate agents who promptly
              responded to my inquires. I chose the one who best
              understood our home's value and potential and could guide
              me through the process. I would never have known where to
              start or how to search for the best without this service. After
              following the advice of my excellent agent, Lisa Roberts, the
              house sold the first day back on the market. (Please do not
              publish my full name)


              Caution: The author of this review has confirmed that his/her posting was
               solicited by Homelight in exchange for a cash gift card.



             I••••• 1212612019
              Adam W. Phoenix, AZ


              We are incredibly satisfied with the realtor which we ultimately
              selected thanks to referral by Homelight . Homelight did a
              great job of promptly helping us to select from among many
              well-recommended agents. Additionally, our realtor also had                           "'


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                 positive things to say about Homelight's referral network.
                 Based on this experience I would recommend Homelight for
                 anyone looking to identify potential realtors to interview.
             I
                 Caution: The author of this review has confirmed that his/her posting was
                 solicited by Homelight in exchange for a cash gift card.


             r • • • • • 12/26/2019
                 Jeannette B. Searcy, AR


                 We chose David Lorton upon your recommendation to sell our
                 home. He gave advice, professionally, how to "stage" our home
                 for the maximum effect, took realistic pictures of our home,
                 inside and out, input data into MLS and communicated with us
                 constantly. Most agents advised us we wouldn't be able to sell
                 our home until the spring but David's optimism, marketing and
                 experience in concert with our partnership in working with him
                 made it possible for us to accept an offer a little over three
                 weeks after listing for a fair offer. Thank you, Homelight, for
                 recommending such a professional and experienced agent
                 that was the total package! We would heartily recommend
                 Homelight and David Lorton to anyone needing to buy or sell
                 their home.


                 Caution: The author of this review has confirmed that his/her posting was
                 solicited by Homelight in exchange for a cash gift card.



             r ••••• 1212612019
                 Denise N. Magnolia, TX


                 I can not stress enough how amazing, wonderful, caring and
                 professional Honey & Company were to work with. I highly


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              recommend them and Homelight to everyone. I've never
              experienced such awesome customer service.

              10 ?? Rating.

             I I thank God I found Homelight who led me to my fabulous
               realtor Connie @ Honey & Company Realty.

               THANK YOU??


              Caution: The author of this review has confirmed that his/her posting was
               solicited by Homelight in exchange for a cash gift card.



             r ••••• 1212612019
              Stephen S. York, PA


              We sought out a Homelight agent after hearing the
              advertisements on the radio. We interviewed several and
              decided to sign with Eric Hoffer. He has a successful record and
              was very pleasant and personable. He helped us decide on a
              listing price based on what the market was doing. After signing,
              he sent his assistant, Lynn to evaluate our home. She made
              recommendations on how to best declutter it and gave help on
              staging the home for the best presentation. Lynn also had a
              photographer come to take pictures and I have to say that the
              photos were spectacular and really displayed the house
              wonderfully. We immediately had people come to view our
              home. Unfortunately, we did not get an offer at the original
              price and Eric recommended dropping the price by five per
              cent after three months on the market. After the price drop we
              got several offers and actually had two buyers in a bidding
              war, resulting in the offer we accepted. Overall, we are very
              happy with Eric and Lynn efforts in getting our home sold. I
                                                                                                    A
              would definitely recommend Eric as a realtor and would use

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                 Homelight again should we need to sell another home.
             I
                 Caution: The author of this review has confirmed that his/her posting was
                 solicited by Homelight in exchange for a cash gift card.



             r ••••• 1212612019
                 Marideth G. Carol Stream, IL


                 We are so happy that we used Homelight to find a top ranked
                 local realtor when it came time to purchase our new home.
                 After entering our criteria, we were quickly contacted by
                 several high performing local agents but weren't endlessly
                 bombarded with calls and emails as I had been worried we
                 would. The agent we selected was perfect for us and
                 Homelight even followed up to make sure we'd found a good
                 fit.
             I
                 Caution: The author of this review has confirmed that his/her posting was
                 solicited by Homelight in exchange for a cash gift card.



             r ••••• 1212612019
                 Robin L. Kernersville, NC


                 Home Light did a wonderful job setting me up with Ashley Lay
                 Reality to sell my home. They were so wonderful and easy to
                 work with. I have to commend them for their work my home
                 was listed and sold with in thirty days!

                 All the little things I had to get done Heidi had a contact for: She
                 was absolutely astonishing! I would recommend them to
                 everyone who wants a professional team working for them
                 and to be updated on the status of your home selling on a            "'


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               regular basis.

               I can't say enough about my outcome!


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               solicited by Homelight in exchange for a cash gift card.



             r • • • • • 1212s12019
               Blake D. Naperville, IL


              When we started our new home search we accessed
              Homelight to find the best realtors in our area. Homelight
              quickly identified 2 highly-qualified realtors that had plenty of
              successful experience in our area. Through those realtors we
              found the right house for us within a matter of weeks and she
              helped us throughout the purchase process. Homelight helped
              make the process quick and efficient by identifying the most
              qualified realtors to suit our needs.



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               solicited by Homelight in exchange for a cash gift card.



            1••••• 1212312019
               Daniel S. Delran, NJ



              Homelight put me in touch with an agent that provided service
              beyond what I had expected I recommend Homelight and
              Robert Greenblatt who was very accommodating and great to
              deal with while selling our condo. He offered excellent advice
              and answered all my questions. Robert was always very
              friendly and professional. He put every effort into helping us                        "'


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                 sell our property, keeping us abreast of the details, while
                 making the whole process fairly easy. I will recommend Robert
                 to anyone looking to buy, or sell, property!
             I
                 Caution: The author of this review has confirmed that his/her posting was
                 solicited by Homelight in exchange for a cash gift card.



             r • • • • • 1212312019
               Diane B. Lakeland, FL


                 My partner and I decided to put our townhouse on the market
                 Since we never sold a home we weren't sure which realtor to
                 use. He heard of Homelight and suggested that we contact
                 them. Within minutes of completing a questionnaire about our
                 home we received several different Realtors that were in our
                 area. I left messages for two different realestate agents and
                 within the same day received returned calls from both. We met
                 with Darren Moreno and decided to use him for the sale. I
                 would recommend using Homelight to anyone that wants to
                 sell their home. It is a quick and easy process to and has a
                 good outcome. Our Townhome had two offers within three
                 days it was on the market


                 Caution: The author of this review has confirmed that his/her posting was
                 solicited by Homelight in exchange for a cash gift card.



             r ••••• 1212312019
                 Tami C. Millington, TN
             I
                 When my husband and I learned we were being transferred to
                 Florida, we had no idea who to contact to sell our home. I had
                 seen the Homelight commercials on TV and decided to give it                          "'


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                 a try. We were pleased to hear from three different agents
                 almost immediately. We chose our agent from the list sent to
                 us by Homelight and I am happy to say, we sold our house in
                 less than 12 hours for a full cash offer! I highly recommend
                 Homelight. They lead you to outstanding agents!! Thank you.
             I
                 Caution: The author of this review has confirmed that his/her posting was
                 solicited by Homelight in exchange for a cash gift card.



             I••••• 1212212019
                 Fred M. Griffin, GA


                 We had a wonderful experience with Homelight and the agents
                 that they recommended, Gary Stubenfoll with Beaman Realty
                 on the selling side.


                 Some other realtors were not willing to work with us to get us
                 the sales price that we wanted for our property. Gary's wife
                 Danette however worked very hard and make clear that we
                 would not go below our bottom line. She believed in her ability
                 to get us what we wanted.


                 Well, what do you know. Our property sold within a week of it
                 being placed on the market. Everyone in our area, especially
                 those trying to sell their properties through other realty
                 companies were shocked that it sold so fast. It sold for our
                 asking price too. This meant that we were able to pay the costs
                 of selling, the cost of moving with National Van Lines, and the
                 cost of buying a new house in Georgia, plus have money left
                 over.



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                 Speaking of Georgia, Diann Simpson of iheartatlantarealty.com
                 was also recommended by Homelight and she worked
                 patiently and diligently to find the house that we wanted and
                 could afford. When properties in Marietta Georgia are going
                 for minimums of over $300,000 our desire to buy a nice house
                 for $140,000 seemed impossible. We had to move our search a
                 bit south of Atlanta but we found just what we were looking for.
                 Diann's patience and hard work definitely paid off.

             I I have to say that our experience with Homelight was
                 successful and satisfying. The realtors they recommended
                 achieved the goals given them and in a very positive way.
             I
                 Caution: The author of this review has confirmed that his/her posting was
                 solicited by Homelight in exchange for a cash gift card.


             r ••••• 12/21/2019
                 Jaclyn D. Utica


                 Hello,


                 I must say I am very satisfied with the service Homelight
                 provided in helping me find the best realtor for me. Homelight
                 suggested qualified realtors in my area and even allowed me
                 to see their most recent sales history. From there I was
                 immediately contacted by a qualified agent. I listed with the
                 agent in August and my home was sold in September. Thank
                 you to Homelight for setting me up with Lou DeMichele of One
                 Realty.



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                 solicited by Homelight in exchange for a cash gift card.
                                                                                                     j
             r ••••• 1212112019
                 Neal M. McCall, ID


                 Homelight was able to connect us with an agent and helped
                 make the process successful. We needed to sell the property
                 for a trust and lived out of the area. The property was in a
                 unique area in southern California and we wanted an agent
                 that was familiar with the benefits of living there. We weren't
                 sure where to start until Homelite recommended three top
                 agents in the area. The initial wave of emails, texts, and phone
                 calls was a little overwhelming at first, but once we were ready
                 we reached out to each agent and set up a showing with each
                 one, as Homelite recommended. The material provided by
                 Homelight was helpful to read, with suggestions for what kind
                 of questions to ask the agents. After selecting our agent, the
                 sale moved forward quickly. It all started with the connection
                 with the agent and the chance to meet face to face.
             I
                 Caution: The author of this review has confirmed that his/her posting was
                 solicited by Homelight in exchange for a cash gift card.



            1••••• 1212112019
                 David T. Tucson, AZ


                 I would like to thank Homelight and The Stinson Team for the
                 sale of my family's home. I inherited the property and it was
                 simply too large for our needs, I decided to sell. After a week of
                 inquiring about buy "as is" or "quick sell" companies, I found
                 Homelight via the internet. 3 different agents promptly called
                 and set up appoinments for the following week. After the
                                                                                                      A




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                 agents described their sale strategies, we listed our home with
                 Curt Stinson because quite frankly he told us what we were
                 doing incorrect. After 30 days we accepted the highest bid. The
                 closing was immediate and the buyer gave us a much needed
                 2 weeks to move out. The entire transaction happened within
                 our comfort and time frame.


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                 solicited by Homelight in exchange for a cash gift card.



            r•••••          1212112019
                 Elbert C. Burlington, MA


                 When my wife and I were deciding whether to sell our home,
                 we did not know where to start. Homelight helped to connect
                 us with realtors who had many years of experience buying and
                 selling in our area. Through this, we were able to narrow down
                 our choices and find a realtor who could best fit our needs.
                 Without Homelight, we would not have been able to sell our
                 home and find a new home within such a short time period.
             I
                 Caution: The author of this review has confirmed that his/her posting was
                 solicited by Homelight in exchange for a cash gift card.



             I***** 1212012019
                 Ted T. Albuquerque, NM


                 To Whom It May Concern,

                 I'm very happy to have found Homelight while searching
                 on line to look for an agent to help with the sale of 10324 Sandy
                 Creek Rd Albuquerque NM. I chose John Myers based on the          "'


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               high rating on the site and I was not disappointed. John has
               been professional and attentive right from the start. He worked
               with me diligently to work out a plan for the sale that includes
               helping with the remodeling process. He was also
               accommodating and patience during the time of my vacation.
             , The sale went smoothly with the expected listing price sold. I
               will definitely recommend Homelight and John if other
               opportunities arise in the future.

                 Ted
             I
                 Caution: The author of this review has confirmed that his/her posting was
                 solicited by Homelight in exchange for a cash gift card.


             r • • • • • 12/20/2019
                 Judith T. D'Iberville, MS


               wrote:
             , I can't thank you all enough at Homelite. The service you
               provided me was the absolute best. Your representative
               explained to me how your service worked and boy did it work.
               You paired me with the #1 agent in my area who was so
               wonderful in helping me sell my home. The process was so
               easy with my realtor Mechelle Kuld. I would be more than
               thrilled to recommend Homelite to anyone who is looking to
               sell their home. I think the service you provide is so valuable to
               anyone trying to sell their home especially if they are like me
               someone who had never sold a home before and did not know
               where to start. Again thank you so much for your service. And
               let me just say my home sold in a month of my realtor listing.
             I
                 Caution: The author of this review has confirmed that his/her posting was
                 solicited by Homelight in exchange for a cash gift card.


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             r ••••• 1212012019
                 Samuel A Highlands Ranch, CO


                 The service Homelight provided me was invaluable. I am a big
                 believer of analytics and since Homelight relies on analytics, I
                 felt there was less risk and uncertainty choosing one of the
                 three agents that were recommended to me. The entire
                 experience was less stressful and I truly believe I got the most
                 money for my home. Because the agent was referred by
                 Homelight, I was also comforted to know that there was an
                 extra level of accountability for the agent. I highly recommend
                 Homelight when selling a property and selecting an agent.
             I
                 Caution: The author of this review has confirmed that his/her posting was
                 solicited by Homelight in exchange for a cash gift card.



             r   *****     1212012019
                 Andrea R. Phoenix, AZ


                 I contacted Homelight last March when I decided to purchase
                 a home. I found them through my employer and loved that
                 they could recommend a qualified real estate agent in my
                 area. I filled out the online application and received a call back
                 with a recommendation almost immediately. If I remember
                 correctly I was given a three names. I chose the female
                 recommendation because that's what felt most comfortable
                 for me. I was thrilled with the choice I made from their
                 recommendation. Lavona and Tracey were incredible to work
                 with. Their office was professional, but had a wonderful
                 personal touch. Thank you Homelight! I may have found the
                 agents without Homelight, but it made it much easier for me.



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                 solicited by Homelight in exchange for a cash gift card.                            j
             r • • • • • 1211912019
               Matthew S. Nolanville, TX


                 Homelight helped me find an excellent realtor to meet my
                 home buying needs. Im glad I chose to work with them to
                 narrow my search for a high quality realtor. Shortly after
                 signing up for their service, I was contacted by a customer
                 service rep to find out what specifically I needed in a home and
                 what my budget was. I was then directed to realtors tailored to
                 my needs. I recommend using home light to find a realtor.
             I
                 Caution: The author of this review has confirmed that his/her posting was
                 solicited by Homelight in exchange for a cash gift card.


             r ~ 1112912019
                 Brian M. Seattle, WA


                 The notion of a Homelight broker ranking algorithm is a sham.
                 Homelight cannot possibly take into account off-market sales,
                 unknown specifics of each transaction, how motivated the
                 seller was, where the market was at the time of sale. Some
                 brokers will underprice homes just to sell them faster to get the
                 commission. Homelight receives a large fee from each home
                 sale, paid by your broker. If you want a good agent who
                 doesn't pay to be listed, you need to do your research.
                 Homelight pitches sellers on high commissions to get more
                 fees frombrokers.


            I~               11/11/2019


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                 Jennifer L. Sacramento, CA


                 Homelight is only interested in deal making with the highest
                 bidder from agents who pay them to be listed. Each agent
                 must pay from their commission to be listed. They hide this and
                 say that the site is free. Homelight is only paid by brokers.
                                                                                           j

             r   ~ 1012112019
                 Zia H. Las Vegas, NV


                 The information Homelight provides is biased because it rates
                 agents that pay a referral. If a business pays to be matched, of
                 course that match is biased. It must be banned for false
                 advertising.


             r ~ 10/14/2019
                 Jeff G. Columbus, OH


                 Homelight is an entirely false resource. The number of sales
                 the realtor makes and the difference between asking prices
                 and actual selling prices does not determine the quality of the
                 realtor who was involved. Most of these things are out of the
                 realtors' control and have to do with specific home sale. Some
                 homes are just harder to sell than others. Many transactions
                 don't get registered in MLS databases. If Homelight displayed
                 ranking data on everyone, including "bad realtors" and not just
                 "three best choices" it would be sued everywhere for false data.
                 Homelight rotates a few "good realtors" who pay them and
                 says these are the best. Homelight is paid for referrals based
                 on random data and unsupported claims. The best way to find
                 a realtor is to do you research and talk to someone you know
                 who actually used a good local realtor to help decide on the
                                                                                               A




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                 quality.                                                                 j
             r ~ 10/11/2019
                 Lisa K. Fresno, CA



                 I was weary about Homelight and what's the catch? Free
                 service to find great agents? It turns out this this a referral
                 scheme, I felt duped when I found out they get a fee from all
                 realtors who they recommend. This is not a free service. I
                 talked to one of the realtors they recommended, asking what is
                 the deal with Homelight fees, and she told me it is a standard
                 in the industry. Who makes these standards? Payment of her
                 commission to Homelight is the only reason they match her.
                 No way can she give me a good listing quote with fees
                 attached. Homelight is a scam, not at all unbiased as
                 described.


            1*****     05/06/2019
             John D. Boswell, PA



                 Homelight provides the service to you for no cost. Good news
                 for customers who are buying or selling homes.
                 Of course, they do make money. When you are referring to an
                 agent, that agent will pay a referral fee back to Homelight.
                 This referral fee is between the agent and Homelight and is
                 not the customer's concern. Go ahead and find a great real
                 estate agent with Homelight.

             l
            I~               05;0412019
                 Maria M. Washington, DC
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                                                                                           A




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              Seems like the company is out there to collect information on
              cash buyers than to provide a real service.
              The 4% fee may be worth the referral if the deal closes as the
              company says it doesn't collect the fee until the deal actually
              closes,
              however from the agent side, they are looking for 25% of the
              agent's commissions. In addition, they also want to collect a
              fee from any transactions that transpire downstream.


             r ~ os10212019
               Nicole H. Phoenix, AZ


              Homelight advertises that they match people with top agents,
              not true, all their matches are biased. This company is a lead
              generation business for agents. Agents sign up with the site,
              and HL feeds the agents leads. If HL converts lead into a sale,
              the agent pays HL for the lead. Agents listed are not
              necessarily top producing, just agents giving a cut of their
              commissions back to HL for the leads. Agents just bill these
              fees by charging high commission rates, instead of negotiating
              with their clients for a better price. You wont find the best
              match here because this company just pushes paying agents
              without any value to sellers.



               Leave your review for Homelight



                                                    *****
              Your Email (Email will be private)




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                   Email Address
               l


               Your Full Name (Last Name will be private)

                   Your Name
                                                                                                l
               City, State

               I Houston, TX
                                                                                                1
               Review Text

                   Review Text




               Please provide honest and constructive feedback about this business. You
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